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2

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     Attorneys of Record for Plaintiff,
8    Bryan Estrada
9
                            UNITED STATES DISTRICT COURT
10

11
                           CENTRAL DISTRICT OF CALIFORNIA

12
     Bryan Estrada,                               Case No. 5:22-cv-21
13

14

15
                      Plaintiff,                  COMPLAINT

16

17                    v.
18

19   Mariscos Uruapan, Inc.; TJJ Trust; Marc
20
     Padilla; Jose Acevedo; Guadalupe Acevedo
     and Does 1-10, inclusive,
21

22
               Defendants.
23

24

25

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28                                          -1-
                                          COMPLAINT
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1
           Plaintiff, Bryan Estrada, hereby complains and alleges as follows:

2

3                              NATURE OF THE ACTION
4                 1.    This is an action seeking to remedy unlawful discrimination by
5    the Defendants against the Plaintiff in the Defendants’ places of public
6    accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
7
     12101, et seq.] (the “ADA”).
8
                                          PARTIES
9
                  2.    Plaintiff, Bryan Estrada, is a paraplegic resident of the state of
10
     California who requires the use of a wheelchair for mobility purposes and who is
11
     therefore a “person with a disability” within the meaning of the ADA and
12
     Cal.Government Code § 12926.
13

14
                  3.    The Defendants (defined below) discriminates against

15   people with mobility disabilities in the full and equal enjoyment of the goods,
16   services, facilities, privileges, advantages, or accommodations on the basis of their
17   mobility disability at the Subject Property (defined below) in violation of the ADA
18   [42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
19                4.    The Defendants' failure to make reasonable modifications in
20   policies, practices, or procedures when such modifications are necessary to afford
21
     goods, services, facilities, privileges, advantages, or accommodations to
22
     individuals with disabilities prevented people with mobility disabilities from
23
     enjoying fair and equal access to the Subject Property (defined below) in violation
24
     of the ADA [42 U.S.C. § 12182(b)(2)(A)(ii)].
25
                  5.    Defendant, Mariscos Uruapan, Inc., owns, operates, or leases
26

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28                                           -2-
                                           COMPLAINT
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1
     real property located at 10940 Limonite Ave, Mira Loma, CA 91752, also known

2    as Riverside County Assessor’s Parcel No. 157-221-026 (the “Subject Property”).
3                  6.    Defendant, TJJ Trust, owns, operates, or leases the Subject
4    Property.
5                  7.    Defendant, Marc Padilla, owns, operates, or leases the Subject
6    Property.
7
                   8.    Defendant, Jose Acevedo, owns, operates, or leases the Subject
8
     Property.
9
                   9.    Defendant, Guadalupe Acevedo, owns, operates, or leases the
10
     Subject Property.
11
                   10.   The Subject Property is a commercial facility open to the
12
     general public, is a public accommodation, and is a business establishment insofar
13

14
     as goods and/or services are made available to the general public thereat.

15   Defendant Does 1 through 10, inclusive, are sued herein under fictitious names.
16   Their true names and capacities are unknown to the Plaintiff. When their true
17   names and capacities are ascertained, Plaintiff will amend this complaint by
18   inserting their true names and capacities herein. Plaintiff is informed and believes
19   and thereon alleges that each of the fictitiously named Defendants are responsible
20   in some manner for the occurrences herein alleged, and that the harm to Plaintiff
21
     herein alleged were proximately caused by those Defendants.
22

23
                              JURISDICTION AND VENUE
24
                   11.   This Court has jurisdiction over the subject matter of this action
25
     pursuant 28 U.S.C. § 1331and28 U.S.C. §§1343(a)(3) and 1343(a)(4) for violations
26
     of the ADA.
27

28                                           -3-
                                           COMPLAINT
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1
                   12.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)

2    based on the fact that the real property that is the subject of this action is located in
3    this district and the Plaintiff’s causes of action arose in this district.
4

5                                  STATEMENT OF FACTS
6                  13.    Parking spaces, accessible aisles, paths of travel, signage,
7
     doorways, service counters, customer areas and goods/services are among the
8
     facilities, privileges and advantages offered by the Defendants to patrons of the
9
     Subject Property.
10
                   14.    The Subject Property does not comply with the minimum
11
     requirements of the ADA and is therefore not equally accessible to persons with
12
     mobility disabilities.
13

14
                   15.    In January, 2021 and continuously from that time to the

15   Present, and currently, the Subject Property has not been in compliance with the
16   ADA (the “Barriers”):
17                        A.     The Subject Property lacks the minimum required
18   number of ADA compliant accessible parking spaces.
19                        B.     There was no diagonal striped marking and no blue
20   border around where an access aisle is supposed to exist adjacent to any designated
21
     accessible parking space(s) serving the Subject Property.
22
                          C.     The designated “accessible” parking space(s) and/or blue
23
     striped access aisles provided at the Subject Property are smaller than permitted by
24
     the ADA.
25
                          D.     The designated “accessible” parking spaces at the Subject
26

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28                                             -4-
                                             COMPLAINT
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1
     Property do not provide accessible parking signage as required by the ADA.

2    Among other things, they fail to provide tow-away signage and “Minimum Fine
3    $250” signage as required by the ADA and state law to beposted near the
4    designated accessible parking space(s).
5                        E.    The designated “accessible” parking spaces at the Subject
6    Property do not provide the universal symbol of accessibility.
7
                         F.    There is no twelve-inch high “NO PARKING” lettering
8
     on the blue-striped parking accessaisle(s) serving the Subject Property.
9
                         G.    There was no designated “van accessible” parking space
10
     with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
11
     going forward into the parking space and no sign or additional language stating
12
     “Van Accessible” below the symbol of accessibility located in a manner that is not
13

14
     obstructed.

15                       H.    The accessible route of travel that crosses or adjoins the
16   vehicular way and the walking surface is not separated by curbs, railings, or other
17   elements between the pedestrian areas and vehicular areas.
18                       I.    A compliant room identification sign is missing on the
19   strike side of the restroom door.
20                       J.    The restrooms are not nearly compliant. The toilet stall
21
     does not have the required minimum clear floor space or maneuvering clearances.
22
     Grab bars are missing and/or incorrectly installed, accessories, such as toilet seat
23
     covers, toilet paper holders, and garbage cans are either too high, without clear
24
     floor space or both, the floor level changes greater than a 1/2 inch at the floor
25
     drains.
26

27

28                                           -5-
                                           COMPLAINT
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1
                        K.       The floor mat at the primary entrance door is not secured

2    in place.
3                       L.       The bar does not have an ADA compliant wheelchair
4    accessible seating space.
5                       M.       There are insufficient wheelchair accessible tables.
6                       N.       The sales transaction counter surface is too high.
7
                  16.   Plaintiff personally encountered one or more of the Barriers
8
     at the Subject Property in January, 2021, including a lack of ADA compliant
9
     accessible parking, and inaccessible restrooms.
10
                  17.   Between January, 2021 and the present, the Plaintiff had
11
     personal knowledge of the existence of Barriers at the Subject Property, including
12
     the foregoing.
13

14
                  18.   The existence of Barriers, the implementation of discriminatory

15   policies, practices and procedures, and other ADA violations at the Subject
16   Property reasonably dissuaded or deterred Plaintiff from accessing the Subject
17   Property on a particular occasion between January, 2021 and the present.
18                19.   On information and belief, the remediation of violations
19   identified hereinabove, to be identified by the Defendants in discovery, and to be
20   discovered by Plaintiff’s experts are all readily achievable in that the removal of
21
     them by the Defendants is and has been easily accomplishable without much
22
     difficulty or expense.
23
                  20.   Defendants violated the ADA by failing to remove all mobility-
24
     related architectural barriers at the Subject Property. On information and belief,
25
     Plaintiff alleges that the failure to remove barriers has been knowing, willful and
26
     intentional because the barriers described herein are clearly visible and tend to be
27

28                                            -6-
                                            COMPLAINT
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1
     obvious even to a casual observer and because the Defendants operate the Subject

2    Property and have control over conditions thereat and as such they have, and have
3    had, the means and ability to make the necessary remediation of access barriers if
4    they had ever so intended.
5                 21.    On information and belief, access barriers at the Subject
6    Property are being consciously ignored by the Defendants; the Defendants have
7
     knowingly disregarded the ongoing duty to remove the Barriers in compliance with
8
     the ADA. Plaintiff further alleges on information and belief that there are other
9
     ADA violations and unlawful architectural barriers at the Subject Property that
10
     relate to Plaintiff’s mobility disability that will be determined in discovery, the
11
     remediation of which is required under the ADA.
12
                  22.    Plaintiff hereby seeks to remediate and remove all barriers
13

14
     related to his mobility disability, whether presently known or unknown and intends

15   to return to the Subject Property to observe and confirm whether access barriers
16   have been removed.
17                23.    Even if strictly compliant barrier removal were determined to
18   be structurally or otherwise impracticable, there are many alternative methods of
19   providing accommodations that are readily apparent and that could provide a
20   greater degree of accessibility to the Plaintiff and similarly situated persons but for
21
     the Defendants’ discriminatory policies, practices and procedures and Defendants’
22
     conscious indifference to their legal obligations and to the rights of persons with
23
     mobility disabilities. Defendants’ failure to implement reasonable available
24
     alternative methods of providing access violates the ADA [42 U.S.C. §
25
     12182(b)(2)(A)(v)].
26
                  24.    The violations and references to code sections herein are not
27

28                                            -7-
                                            COMPLAINT
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1
     all-inclusive. Plaintiff will amend this complaint to provide a complete description

2    of the full scope of ADA violations after conducting a comprehensive expert site
3    inspection and other discovery. For the purposes of this Complaint, Plaintiff asserts
4    that the barriers alleged herein violate one or more of the ADA’s implementing
5    regulations. The Defendants have maintained and continue to maintain
6    discriminatory policies, procedures and practices that disregard their obligations
7
     under the ADA by allocating resources for physical improvements to the Subject
8
     Property that were did not provide legally required accessibility improvements, by
9
     failing to conduct ADA self-inspections or create ADA compliance plans
10
     regarding the Subject Property, by causing alterations to be made to the Subject
11
     Property in disregard of ADA requirements, and for failing and refusing to make
12
     necessary accommodations for persons with mobility disabilities at the Subject
13

14
     Property. Plaintiff seeks a declaration that the Defendants’ disability rights

15   compliance policies, procedures and practices are discriminatory and violate the
16   ADA.
17                             FIRST CAUSE OF ACTION
                              Discrimination Based on Disability
18
                                 [42 U.S.C. §§ 12101, et seq.]
19                            By Plaintiff against all Defendants
20

21                25.    Plaintiff re-alleges and incorporates by reference as though
22   fully set forth herein the allegations contained in all prior paragraphs of this
23   complaint.
24                26.    The ADA obligates owners, operators, lessees and lessors of
25
     public accommodations to ensure that the privileges, advantages, accommodations,
26
     facilities, goods and services are offered fully and equally to persons with
27

28                                            -8-
                                            COMPLAINT
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1
     disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §

2    12182(a)].
3                 27.    Discrimination is defined in the ADA, inter alia, as follows:
4                        A.     A failure to remove architectural barriers where such
5    removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
6    barriers are identified and described in the Americans with Disabilities Act
7
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
8
                         B.     A failure to make alterations in such a manner that, to the
9
     maximum extent feasible, the altered portions of the facility are readily accessible
10
     to and usable by individuals with disabilities, including individuals who use
11
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
12
     the altered area and the bathrooms, telephones, and drinking fountains serving the
13

14
     altered area, are readily accessible to and usable by individuals with disabilities [42

15   U.S.C. § 12183(a)(2)].
16                       C.     Where an entity can demonstrate that the removal of a
17   barrier is not readily achievable, a failure to make such goods, services, facilities,
18   privileges, advantages, or accommodations available through alternative methods
19   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
20                       D.     A failure to make reasonable modifications in
21
     policies, practices, or procedures, when such modifications are necessary to afford
22
     such goods, services, facilities, privileges, advantages, or accommodations to
23
     individuals with disabilities, unless the entity can demonstrate that making such
24
     modifications would fundamentally alter the nature of such goods, services,
25
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
26
     12182(b)(2)(A)(ii)].
27

28                                            -9-
                                            COMPLAINT
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 1
                 28.    The ADA, the ADAAG’s 1991 Standards (the “1991

 2   Standards”) and 2010 Standards (the “2010 Standards”), and the California
 3   Building Code (the “CBC”) contain minimum standards that constitute legal
 4   requirements regarding wheelchair accessibility at places of public
 5   accommodation:
 6                      A.    If parking spaces are provided for self-parking by
 7
     employees or visitors, or both, then the subject property must provide at least the
 8
     minimum required number of accessible parking spaces.Accessible parking
 9
     spaces must be marked to define their width and must have an adjacent ADA
10
     compliant access aisle. Accessible parking spaces must be at least 96 inches wide
11
     and van parking spaces must be at least 132 inches wide except that van parking
12
     spaces can be 96 inches wide where the access aisle is not less than 96 inches
13

14
     wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the

15   Subject Property does not comply with the ADA.
16                      B.    To qualify as a reserved handicap parking space, the
17   space must be properly marked and designated. Under the ADA, the method,
18   color of marking and length of the parking space are to be addressed by state or
19   local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
20   and 503].
21
                        C.    To properly and effectively reserve a parking space for
22
     persons with disabilities, each parking space must be at least 216 inches in length
23
     [CBC § 11B-502.2].
24
                        D.    Each parking space reserved for persons with disabilities
25
     shall be identified by a reflectorized sign permanently posted immediately
26
     adjacent to and visible from each stall or space, consisting of the International
27

28                                          -10-
                                          COMPLAINT
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 1
     Symbol of Accessibility in white on a dark blue background. The sign shall not be

 2   smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
 3   shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
 4   the sign to the parking space finished grade. Signs may also be centered on the
 5   wall at the interior end of the parking space. An additional sign or additional
 6   language below the symbol of accessibility shall state "Minimum Fine $250"
 7
     [2010 Standards § 502.6; CBC § 1129B.4].
 8
                       E.     Signs identifying accessible parking spacesmust include
 9
     the International Symbol of Accessibility [2010 Standards §§ 502.6].
10
                       F.     To properly and effectively reserve a parking space for
11
     persons with disabilities, the surface of the access aisle must have a blue
12
     border; the words “NO PARKING” in letters at least a foot high must be
13
     painted on the access aisle [CBC § 1129B.3].
14

15
                       G.     One in every eight accessible spaces, but not less than

16   one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
17   wide minimum placed on the side opposite the driver’s side when the vehicle is
18   going forward into the parking space and shall be designated van accessible. Van
19   accessible spaces must have an additional sign or additional language stating "Van
20   Accessible" below the symbol of accessibility. Signs identifying accessible
21   parking spaces must be located so they cannot be obscured by a vehicle parked in
22
     the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
23
     and B4].
24
                       H.     If a walk crosses or adjoins a vehicular way, and the
25
     walking surfaces are not separated by curbs, railings, or other elements
26

27

28                                          -11-
                                          COMPLAINT
29

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 1
     between the pedestrian areas and vehicular areas, the boundary between

 2
     the areas shall be defined by a continuous detectable warning which is 36
 3   in. [1991 ADAAG § 4.29.5].
 4                       I.     Where permanent identification is provided
 5   for rooms and spaces, signs shall be installed on the wall adjacent to the
 6   latch side of the door [1991 ADAAG § 4.30.6].
 7                       J.     Toilet and bathing rooms shall comply with 2010
 8   ADAS § 603 and 1991 ADAAG § 4.17.1.
 9                       K.     If carpet or carpet tile is used on a ground or floor
10   surface, then it shall be securely attached; have a firm cushion, pad, or
11
     backing, or no cushion or pad; and have a level loop, textured loop, level cut
12
     pile, or level cut/uncut pile texture [2010 ADAS § 302.2; 1991 ADAAG § 4.5.3].
13
                         L.     Where food or drink is served at counters
14
     exceeding 34 inches in height for consumption by customers seated or
15
     standing at the counter, a portion of the main counter which is 60 inches in
16

17
     length minimum shall be provided. At least 5 percent of the seating spaces and

18   standing spaces shall provide a clear floor space positioned for a forward
19   approach and knee and toe clearance.
20                       M.     Where fixed tables (or dining counters where food
21   is consumed but there is no service) are provided, at least 5 percent, but not
22   less than one, of the fixed tables (or a portion of the dining counter) shall be
23   accessible [1992 Standards § 5.1; 2010 Standards § 226.1].
24                       N.     In public accommodations where counters have cash
25   registers or are provided for sales or distribution of goods or services to the public,
26
     at least one of each type of counter must have a portion that is at least 36 in
27
     (915mm) in length with a maximum height of 36 in (915 mm) above the finished
28                                            -12-
                                            COMPLAINT
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 1
     floor. The checkout counter surface height can be no more than 38 inches

 2   maximum above the finished floor or ground. The top of the counter edge
 3   protection can be up to 2 inches above the top of the counter surface on the
 4   aisle side of the checkout counter. Clear floor space that allows a forward
 5   or parallel approach by a person using a wheelchair must be provided at
 6   controls, dispensers, receptacles and other operable equipment [1991
 7   Standards §§ 7.1(1), 7.2, 4.27.2; 2010 Standards §§ 309.2, 902.3, 904.3.2 and
 8   904.3.3].
 9               29.   The Defendants have failed to comply with minimum
10
     ADA standards and have discriminated against persons with mobility
11
     disabilities on the basis of thereof. Each of the barriers and accessibility
12
     violations set forth above is readily achievable to remove, is the result of an
13
     alteration that was completed without meeting minimum ADA standards,
14
     or could be easily remediated by implementation of one or more available
15
     alternative accommodations. Accordingly, the Defendants have violated the
16
     ADA.
17
                 30.   The Defendants are obligated to maintain in operable
18
     working condition those features of the Subject Property’s facilities and
19
     equipment that are required to be readily accessible to and usable by
20
     Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
21
     36.211(a)]. The Defendants failure to ensure that accessible facilities at the
22

23
     Subject Property were available and ready to be used by the Plaintiff

24   violates the ADA.
25               31.   The Defendants have a duty to remove architectural
26   barriers where readily achievable, to make alterations that are consistent
27   with minimum ADA standards and to provide alternative accommodations
28                                        -13-
                                        COMPLAINT
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 1
     where necessary to provide wheelchair access. The Defendants benign

 2
     neglect of these duties, together with their general apathy and indifference
 3   towards persons with disabilities, violates the ADA.
 4                32.   The Defendants have an obligation to maintain policies,
 5   practices and procedures that do not discriminate against the Plaintiff and
 6   similarly situated persons with mobility disabilities on the basis of their
 7   disabilities. The Defendants have maintained and continue to maintain a policy of
 8   disregarding their obligations under the ADA, of allocating resources for
 9   improvements insufficient to satisfy legal requirements regarding accessibility
10   improvements, of failing to conduct ADA self-inspections or create ADA
11
     compliance plans, of causing alterations to be made to the Subject Property in
12
     disregard of ADA requirements, and of failing and refusing to make necessary
13
     accommodations for persons with mobility disabilities at the Subject Property, in
14
     violation of the ADA.
15
                  33.   The Defendants wrongful conduct is continuing in that
16
     Defendants continue to deny full, fair and equal access to their business
17
     establishment and full, fair and equal accommodations, advantages,
18

19
     facilities, privileges and services to Plaintiff as a disabled person due to

20   Plaintiff’s disability. The foregoing conduct constitutes unlawful
21   discrimination against the Plaintiff and other mobility disabled persons
22   who, like the Plaintiff, will benefit from an order that the Defendants
23   remove barriers and improve access by complying with minimum ADA
24   standards.
25

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28                                          -14-
                                          COMPLAINT
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 1
                               PRAYER FOR RELIEF

 2
           Plaintiff prays to this Court for injunctive, declaratory and all other
 3   appropriate relief under the ADA , including but not limited to reasonable
 4   attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
 5   12205.
 6         Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
           not seek injunctive relief under the Unruh Act or Disabled Persons
 7
           Act at all by way of this action.
 8
     Respectfully submitted,
 9

10   Dated: 01/05/2022             LAW OFFICES OF ROSS CORNELL, APC
11

12                                 By: /s/ Ross Cornell
13                                     Ross Cornell, Esq.,
                                       Attorneys for Plaintiff,
14
                                       Bryan Estrada
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28                                        -15-
                                        COMPLAINT
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